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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                           )
ALLEGHENY COUNTY EMPLOYEES’                )
RETIREMENT SYSTEM, EMPLOYEES’              )
RETIREMENT SYSTEM OF THE CITY OF           )
BATON ROUGE AND PARISH OF EAST             )
BATON ROUGE, DENVER EMPLOYEES              )   Case No. 2:20-cv-00200-GAM
RETIREMENT PLAN, INTERNATIONAL             )
ASSOCIATION OF MACHINISTS AND              )
AEROSPACE WORKERS NATIONAL                 )
PENSION FUND, and IOWA PUBLIC              )
EMPLOYEES’ RETIREMENT SYSTEM,              )
Individually and On Behalf of All Others   )
Similarly Situated,                        )
                                           )
                    Plaintiffs,            )
                                           )
            v.                             )
                                           )
ENERGY TRANSFER LP, KELCY L.
                                           )
WARREN, THOMAS E. LONG,
                                           )
MARSHALL MCCREA, and MATTHEW S.
                                           )
RAMSEY,
                                           )
                    Defendants.            )
                                           )
                                           )

DEFENDANTS’ REPLY IN FURTHER SUPPORT OF THEIR MOTION TO COMPEL
 LEAD PLAINTIFFS’ PRODUCTION OF TEXT MESSAGE COMMUNICATIONS
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       Lead Plaintiffs’ Opposition offers no facts or authority to change the conclusion that

Defendants are entitled to the text message communications they seek. Plaintiffs’ Opposition

merely obfuscates legitimate discovery efforts in the hopes of overcomplicating simple facts: the

discovery sought is relevant, proportional to the needs of the case and imposes no undue burden.

Plaintiffs should thus be compelled to—at the very least—search for the text message

communications Defendants have sought for nearly two years and, if applicable, produce the same.

I.     ARGUMENT

       A.      Lead Plaintiffs Repeatedly Refuse to Address Relevant Text Message
               Discovery

       Lead Plaintiffs continue to refuse to even perform a good faith search for responsive text

messages or respond to Defendants’ inquiries, preventing Defendants from knowing how many

responsive messages exist. In Defendants’ attempts to confer with Lead Plaintiffs’ counsel on this

very issue and avoid the need for this Motion, counsel did not aver that no relevant text message

communications exist.     Instead, Lead Plaintiffs’ counsel stonewalled Defendants’ conferral

attempts, standing on the misguided proposition that “at no point . . . did Defendants request that

Lead Plaintiffs search for text messages or inquire into Lead Plaintiffs’ data sources.” Motion,

Exhibit 1-D at 1. That is false. As set forth in Defendants’ Motion, Defendants sought responsive

electronically stored information from Lead Plaintiffs as early as July 2021. Motion, Exhibit 1-A

at 4. Seven months later, Defendants specifically asked Lead Plaintiffs’ counsel to confirm

whether they had reviewed any text messages from the ESI Custodians and the scope of that

review, if any, or otherwise to explain why no text messages were produced. Motion, Exhibit 1-

C at 4. As has since become a trend, Lead Plaintiffs failed to address Defendants’ concerns and

similarly failed to produce any text messages.

       Recent testimony from Lead Plaintiffs’ investment managers has only further highlighted



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the inappropriate nature of that failure. As argued more fully in Defendants’ Motion, Lead

Plaintiffs’ investment managers—the entities that invested in Energy Transfer securities on Lead

Plaintiffs’ behalf—offered testimony that undermines critical elements of Lead Plaintiffs’ claims.

See Motion at 4–5. Specifically, the testimony establishes that those investment managers did not

rely on the statements or omissions that Lead Plaintiffs claim were false and misleading and for

which Defendants are allegedly responsible. See id. That evidence goes to the heart of the claims

and defenses asserted in this lawsuit. It is thus essential that Defendants have discovery about

what Lead Plaintiffs knew or should have known about what their investment managers relied

upon or believed about the truth of the challenged statements. At the very least, it is essential that

Lead Plaintiffs perform a good faith search for those text messages and confirm that none exist.

       B.      Granting Defendants’ Motion Is Proper

       As made clear in the Motion, and as repeated above, Defendants have sought Lead

Plaintiffs’ text messages for nearly two years. This is not “tit-for-tat” discovery. This is

Defendants’ proper attempt to acquire the discovery they previously and repeatedly requested after

multiple dodges and obfuscations on the part of Lead Plaintiffs or, at the very least, to get

confirmation that no such text messages exist. Lead Plaintiffs cannot ignore Defendants’ repeated

requests for responsive text messages and simply allege that discovery is retaliatory. Defendants

are entitled to this discovery, it is proportional to the needs of this case (a fact not challenged by

Lead Plaintiffs) and would impose no undue burden.

II.    CONCLUSION

       For all the reasons stated above and in the Motion, Defendants respectfully request that the

Motion be granted.




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Dated: July 14, 2023                         Respectfully submitted,

                                             GIBSON, DUNN & CRUTCHER LLP



                                          By: Trey Cox
                                              Trey Cox*
                                              2001 Ross Avenue
                                              Suite 2100
                                              Dallas, TX 75201
                                              Tel: (214) 698-3100
                                              Fax: (214) 571-2900
                                              tcox@gibsondunn.com

                                             Brian M. Lutz*
                                             Colin B. Davis*
                                             555 Mission Street
                                             Suite 3000
                                             San Francisco, CA 94105
                                             Tel: (415) 393-8200
                                             Fax: (415) 393-8306
                                             blutz@gibsondunn.com
                                             cdavis@gibsondunn.com

                                             *Admitted Pro Hac Vice

                                             MORGAN, LEWIS & BOCKIUS LLP

                                             Laura H. McNally
                                             Karen Pieslak Pohlman
                                             Amanda F. Lashner
                                             1701 Market Street
                                             Philadelphia, PA 19103
                                             Tel: (215) 693-5000
                                             Fax: (215) 963-5001
                                             laura.mcnally@morganlewis.com
                                             karen.pohlmann@morganlewis.com
                                             amandalashner@morganlewis.com

                                             Counsel for Defendants




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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this the 14th of July 2023, I electronically filed

the above and foregoing document via the Court’s CM/ECF system, which will send notification

of said filing to all counsel of record.

                                                     /s/ Trey Cox
                                                     Trey Cox




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